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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              OXFORD DIVISION
______________________________________________________________________________

CEDARVIEW MART, LLC, individually and
on behalf all others similarly situated,
                                                                       3:20-CV-107-NBB-RP
                                                     Civil Action No. ________________
               Plaintiff,
                                                     JURY DEMANDED
v.

STATE AUTO PROPERTY
AND CASUALTY COMPANY,

            Defendant.
______________________________________________________________________________

                         CLASS ACTION COMPLAINT
______________________________________________________________________________


       COMES NOW Plaintiff, Cedarview Mart, LLC (“Cedarview” or “Plaintiff”), pursuant to

Federal Rule of Civil Procedure Rule 8, individually and on behalf of all others similarly situated,

and states and alleges the following for its Class Action Complaint against State Auto Property

and Casualty Company (hereinafter “State Auto P&C”):

                  PARTIES, RESIDENCY, JURISDICTION AND VENUE

      1.       Plaintiff Cedarview is a limited liability company incorporated under the laws of

the State of Mississippi, with its principal address in Olive Branch. At all times relevant hereto,

Cedarview had one member, who resided in Oxford Division of the Northern District of

Mississippi.

      2.       Cedarview owns the property and structures doing business as the Cedar View Food

Mart, located at 3490 Highway 305 North, Olive Branch, MS (the “Insured Premises”).
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       3.       Defendant State Auto P&C is organized under the laws of the State of Iowa with

its principal place of business in Columbus, Ohio. State Auto P&C is authorized to sell property

insurance policies in the states of Mississippi, Tennessee, Kentucky, and Ohio, and is engaged in

the insurance business in the states of Mississippi, Tennessee, Kentucky, and Ohio, including

issuing insurance policies covering property in the Oxford Division of the Northern District of

Mississippi.

       4.       The events giving rise to Plaintiff’s individual claims that are the subject of this

action occurred in the Oxford Division of the Northern District of Mississippi.

       5.       On information and belief, this Court has subject matter jurisdiction under the Class

Action Fairness Act, 28 U.S.C. § 1332(d) (“CAFA”).

       6.       This Court has personal jurisdiction over State Auto P&C because it has availed

itself of the privilege of conducting business and issuing insurance contracts covering structures

in the State of Mississippi.

                                                FACTS

    A. The Property Insurance Policy and Casualty Loss

       7.       State Auto P&C is a national insurer that provides personal and commercial lines

property coverages.

       8.       State Auto P&C sells its property insurance policies in, inter alia, the states of

Mississippi, Tennessee, Kentucky, and Ohio.

       9.       State Auto P&C property insurance forms sold in Mississippi, Tennessee,

Kentucky, and Ohio are materially identical as it relates to the contractual dispute set forth herein.

      10.       The laws in the States of Mississippi, Tennessee, Kentucky, and Ohio are materially

identical as it relates to the contractual dispute set forth herein.



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      11.       Cedarview was insured pursuant to an insurance contract whereby State Auto P&C

agreed to insure, inter alia, Cedarview’s property located on the Insured Premises against property

damage, bearing Policy No. BOP2759642 (the “Policy”).

      12.       The Policy provided insurance coverage for direct physical loss to the building and

other structures located on the Insured Premises, except as specifically excluded or limited by the

Policy.

      13.       This lawsuit only concerns property insurance coverage for buildings, and not

personal contents, such as inventory and furniture.

      14.       Pursuant to the Policy, Cedarview paid State Auto P&C premiums in exchange for

insurance coverage. The required premiums were paid at all times relevant to this Complaint.

      15.       On or about January 10, 2020, Cedarview’s structures located on the Insured

Premises suffered direct physical loss caused by covered peril(s) (the “Loss”).

      16.       The Policy was in effect at the time of the Loss, and the Loss is compensable under

the terms of the Policy. As it relates to the Loss, there is no applicable exclusion.

      17.       Cedarview promptly notified State Auto P&C of the Loss and made a claim against

the Policy.

      18.       After its inspection, State Auto P&C determined that the Loss was covered by the

terms of the Policy.

      19.       State Auto P&C calculated its actual cash value (“ACV”) payment obligation to

Cedarview by first estimating the cost to repair or replace the damage with new materials

(replacement cost value, or “RCV”), then subtracted depreciation.

      20.       The Policy, and the other property forms at issue in this pleading, do not permit the

withholding or deduction of labor as depreciation as described below. Certain policies of insurance



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expressly allow for the depreciation of “labor” as described herein. This type of form or

endorsement will be referred to herein as a “labor depreciation permissive form.” The Policy does

not contain a labor depreciation permissive form.

   B. State Auto P&C’s Calculation of Cedarview’s ACV Payment

      21.      In adjusting Cedarview’s claim, State Auto P&C affirmatively and unilaterally

chose to use a “replacement cost less depreciation” methodology to calculate the loss and make its

ACV payment.

      22.      State Auto P&C used commercially-available computer software to make its RCV,

depreciation, and ACV calculations. State Auto P&C uses this software to calculate RCV,

depreciation, and ACV. The software used to calculate the payment to the Plaintiff is called

Xactimate®.

      23.      On or about January 22, 2020, State Auto P&C calculated the RCV of Cedarview’s

damaged property at $17,851.32.

      24.      State Auto P&C then used the same software to calculate the depreciation for

Cedarview’s damaged property at $3,006.48.

      25.      Cedarview was underpaid on its ACV claim as more fully described below.

   B. State Auto P&C’s Practice Of Withholding Labor As Depreciation

      26.      When it calculated Cedarview’s ACV benefits owed under the Policy, State Auto

P&C withheld costs for both materials and the labor required to repair or replace Cedarview’s

property as depreciation, even though labor does not depreciate in value over time. State Auto

P&C withheld labor costs throughout its ACV calculations as depreciation. State Auto P&C also

withheld labor costs as depreciation for other work necessary to repair and replace the property.




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      27.      Like all property insurance claims estimating software, the specific commercial

claims estimating software used by State Auto P&C allows for the depreciation of materials only

or the depreciation of both material and labor in its depreciation setting preferences.

      28.      In this pleading, whenever reference is made to withholding “labor” as

depreciation, “labor” means intangible non-materials, specifically including both the labor costs

and the laborers’ equipment costs and laborers’ overhead and profit necessary to restore property

to its condition immediately prior to the loss, as well as removal costs to remove damaged property,

under commercial claims estimating software.

      29.      State Auto P&C’s withholding of labor costs as depreciation associated with the

repair or replacement of Cedarview’s property resulted in Cedarview receiving payment for its

losses in an amount less than it was entitled to receive under the Cedarview Policy. State Auto

P&C breached its obligations under the Cedarview Policy by improperly withholding the cost of

labor as depreciation.

      30.      Plaintiff cannot determine the precise amount of labor that has been withheld based

only upon the written estimate provided. To determine the precise amount of labor withheld, it is

necessary to have access to the commercial property insurance program at issue, as well as the

electronic file associated with its estimate.

      31.      While an insurer may lawfully depreciate material costs when calculating the

amount of an ACV payment owed to an insured, it may not lawfully withhold repair labor as

depreciation under State Auto P&C’s policy forms at issue in Mississippi, Tennessee, Kentucky,

and Ohio. State Auto P&C’s failure to pay the full cost of the labor necessary to return Cedarview

back to its pre-loss condition left Cedarview under-indemnified and underpaid for its loss.




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      32.        State Auto P&C materially breached its duty to indemnify Cedarview by

withholding labor costs associated with repairing or replacing Cedarview’s property in its ACV

payment as depreciation, thereby paying Cedarview less than it was entitled to receive under the

terms of the Cedarview Policy.

                                 AMOUNT IN CONTROVERSY

      33.        Upon information and belief, the amount in controversy with respect to the

proposed class exceeds $5,000,000, exclusive of interest and costs.

                                CLASS ACTION ALLEGATIONS

      34.        Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings this

lawsuit as a class action on behalf of itself and on behalf of all others similarly situated. This action

satisfies the requirements of numerosity, commonality, typicality, and adequacy of representation.

Only to the extent it is a requirement under applicable law, the proposed class herein are

ascertainable.

      35.        The proposed class that Plaintiff seeks to represent is defined as follows:

                 All State Auto P&C policyholders (or their lawful assignees) who
                 made: (1) a structural damage claim for property located in the
                 States of Mississippi, Tennessee, Kentucky, and Ohio; and (2)
                 which resulted in an actual cash value payment during the class
                 period from which non-material depreciation was withheld from the
                 policyholder; or which should have resulted in an actual cash value
                 payment but for the withholding of non-material depreciation
                 causing the loss to drop below the applicable deductible, for the
                 maximum limitations period as may be allowed by law and
                 arguments of counsel.

                 In this definition, “non-material depreciation” means application of
                 either the “depreciate removal,” “depreciate non-material” and/or
                 “depreciate O&P” option settings within Xactimate® software or




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               similar depreciation option settings in competing commercial
               software programs.

               The class excludes any claims for which the applicable limits of
               insurance have been exhausted by initial actual cash value
               payments.

               The class also excludes any claims arising under labor depreciation
               policy forms, i.e., those forms and endorsements expressly
               permitting the “depreciation” of “labor” within the text of the policy
               form.

      36.      Plaintiff reserves the right to amend the definition of the proposed class through

discovery. The following persons are expressly excluded from the class: (1) Defendant and its

subsidiaries and affiliates; (2) all persons who make a timely election to be excluded from the

proposed Class; and (3) the Court to which this case is assigned and its staff.

      37.      Plaintiff and members of the putative class as defined all have Article III standing

as all such persons and entities, at least initially, received lower claim payments than permitted

under the policy. Certain amounts initially withheld as labor may be later repaid to some

policyholders with replacement cost provisions in their policy, if any. However, policyholders

who have been subsequently repaid for initially withheld labor still have incurred damages, at the

least, in the form of the lost “time value” of money during the period of withholding, i.e., statutory

prejudgment interest on the amounts improperly withheld, for the time period of withholding.

      38.      The members of the proposed class are so numerous that joinder of all members is

impracticable. Plaintiff reasonably believes that hundreds or thousands of people geographically

dispersed across Mississippi, Tennessee, Kentucky, and Ohio have been damaged by State Auto

P&C’s actions. The names and addresses of the members of the proposed class are readily

identifiable through records maintained by State Auto P&C or from information readily available

to State Auto P&C.



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      39.      The relatively small amounts of damage suffered by most members of the proposed

class make filing separate lawsuits by individual members economically impracticable.

      40.      State Auto P&C has acted on grounds generally applicable to the proposed class in

that State Auto P&C has routinely withheld labor costs as described herein in its adjustment of

property damage claims under its policies of insurance. It is reasonable to expect that State Auto

P&C will continue to withhold labor to reduce the amount it pays to its insureds under these

policies absent this lawsuit.

      41.      Common questions of law and fact exist as to all members of the proposed class

and predominate over any questions affecting only individual members. The questions of law and

fact common to the proposed class include, but are not limited to:

            a. Whether State Auto P&C’s policy language allows it to withhold labor costs in its
               calculation of ACV payments;

            b. Whether State Auto P&C’s policy language is ambiguous;

            c. Whether State Auto P&C’s withholding of labor costs in its calculation of ACV
               payments breaches the insurance policies;

            d. Whether State Auto P&C has a custom and practice of withholding labor costs in
               its calculation of ACV payments;

            e. Whether Plaintiff and members of the proposed class have been damaged as a result
               of State Auto P&C’s withholding of labor costs in its calculation of ACV payments;
               and

            f. Whether Plaintiff and members of the proposed class are entitled to a declaration,
               as well as potential supplemental relief, under the Declaratory Judgment Act.

      42.      Plaintiff’s claim is typical of the claims of the proposed class members, as they are

all similarly affected by State Auto P&C’s custom and practice concerning the withholding of

labor. Further, Plaintiff’s claims are typical of the claims of the proposed class members because

its claims arose from the same practices and course of conduct that give rise to the claims of the



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members of the proposed class and are based on the same factual and legal theories. Plaintiff is

not different in any material respect from any other member of the proposed class.

      43.      Plaintiff and its counsel will fairly and adequately protect the interests of the

members of the proposed class. Plaintiff’s interest does not conflict with the interests of the

proposed class it seeks to represent. Plaintiff has retained lawyers who are competent and

experienced in class action and insurance litigation. Plaintiff and Plaintiff’s counsel have the

necessary financial resources to adequately and vigorously litigate this class action, and Plaintiff

and counsel are aware of their fiduciary responsibilities to the members of the proposed class and

will diligently discharge those duties by vigorously seeking the maximum possible recovery for

the proposed class while recognizing the risks associated with litigation.

      44.      A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy. Joining all proposed members of the proposed class in one action

is impracticable and prosecuting individual actions is not feasible. The size of the individual claims

is likely not large enough to justify filing a separate action for each claim. For many, if not most,

members of the proposed class, a class action is the only procedural mechanism that will afford

them an opportunity for legal redress and justice. Even if members of the proposed class had the

resources to pursue individual litigation, that method would be unduly burdensome to the courts

in which such cases would proceed. Individual litigation exacerbates the delay and increases the

expense for all parties, as well as the court system. Individual litigation could result in inconsistent

adjudications of common issues of law and fact.

      45.      In contrast, a class action will minimize case management difficulties and provide

multiple benefits to the litigating parties, including efficiency, economy of scale, unitary

adjudication with consistent results and equal protection of the rights of Plaintiff and members of



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the proposed class. These benefits would result from the comprehensive and efficient supervision

of the litigation by a single court.

       46.      Questions of law or fact common to Plaintiff and members of the proposed class,

including those identified above, predominate over questions affecting only individual members

(if any), and a class action is superior to other available methods for the fair and efficient

adjudication of the controversy. Class action treatment will allow a large number of similarly

situated consumers to prosecute their common claims in a single forum, simultaneously,

efficiently, and without the necessary duplication of effort and expense that numerous individuals

would require. Further, the monetary amounts due to many individual members of the proposed

class is likely to be relatively small, and the burden and expense of individual litigation would

make it difficult or impossible for individual members of the proposed class to seek and obtain

relief. On the other hand, a class action will serve important public interests by permitting

consumers harmed by State Auto P&C’s unlawful practices to effectively pursue recovery of the

sums owed to them, and by deterring further unlawful conduct. The public interest in protecting

the rights of consumers favors disposition of the controversy in the class action form.

      47.       Class certification is further warranted because State Auto P&C has acted or

refused to act on grounds that apply generally to the class, so final injunctive relief or

corresponding declaratory relief is appropriate with respect to the class as a whole.

      48.       Plaintiff may seek, in the alternative, certification of issues classes.

      49.       Rule 23(c)(4) provides that an action may be brought or maintained as a class action

with respect to particular issues when doing so would materially advance the litigation as a whole.

                                            COUNT I
                                       BREACH OF CONTRACT

      50.       Plaintiff restates and incorporates by reference all preceding allegations.


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         51.    State Auto P&C entered into policies of insurance with Plaintiff Cedarview and

members of the proposed class. These insurance policies govern the relationship between State

Auto P&C and Cedarview, and members of the proposed class, as well as the manner in which

claims for covered losses are handled.

         52.    The policies of insurance between State Auto P&C, Cedarview and the other

members of the proposed class are binding contracts under Mississippi, Tennessee, Kentucky, and

Ohio law, supported by valid consideration in the form of premium payments in exchange for

insurance coverage.

         53.    State Auto P&C drafted the insurance policies at issue, which are essentially

identical in all respects material to this litigation concerning the withholding of labor as

depreciation.

         54.    In order to receive ACV claim payments, Cedarview and the putative class

members complied with all material provisions and performed all of their respective duties with

regard to their insurance policy.

         55.    State Auto P&C breached its contractual duty to pay Cedarview, and members of

the proposed class the ACV of their claims by unlawfully withholding labor costs as described

herein.

         56.    State Auto P&C’s actions in breaching its contractual obligations to Cedarview and

members of the proposed class benefitted and continue to benefit State Auto P&C. Likewise, State

Auto P&C’s actions damaged and continue to damage Plaintiff and members of the proposed class.

         57.    State Auto P&C’s actions in breaching its contractual obligations, as described

herein, are the direct and proximate cause of damages to Plaintiff and members of the proposed

class.



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      58.      In light of the foregoing, Plaintiff and members of the proposed class are entitled

to recover damages sufficient to make them whole for all amounts State Auto P&C unlawfully

withheld from their ACV payments, including prejudgment interest as may be allowed by law.

                                   COUNT II
                        DECLARATORY JUDGMENT AND RELIEF

      59.      Plaintiff restates and incorporates by reference all preceding allegations.

      60.      This Court is empowered by the Declaratory Judgment Act as codified at 28 U.S.C.

§ 2201 and Fed. R. Civ. P. 57 to declare the rights and legal relations of parties regardless of

whether further relief is or could be claimed.

      61.      A party may seek to have insurance contracts, before or after a breach, construed

to obtain a declaration of rights, status, and other legal relations thereunder adjudicated.

      62.      Cedarview and members of the proposed class have all complied with all relevant

conditions precedent in their contracts.

      63.      Plaintiff seeks, individually and on behalf of the proposed class, a declaration that

State Auto P&C’s property insurance contracts prohibit the withholding of labor costs as described

herein when adjusting losses under the methodology employed herein.

      64.      Plaintiff further seeks, individually and on behalf of the proposed class, any and all

other relief available under the law arising out of a favorable declaration.

      65.      Plaintiff and members of the proposed class have suffered injuries.

                                           JURY DEMAND

      66.      Plaintiff hereby demands a trial by jury.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

respectfully request that this Court:


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       1.      Enter an order certifying this action as a class action, appointing Plaintiff as the

representative of the class, and appointing Plaintiff’s attorneys as counsel for the class;

       2.      Enter a declaratory judgment, declaring that State Auto P&C’s withholding of labor

costs as depreciation is contrary to and breaches the insurance policy issued to Cedarview and

members of the class;

       3.      Enter a declaration, and any preliminary and permanent injunction and equitable

relief against State Auto P&C and its officers, agents, successors, employees, representatives, and

any and all persons acting in concert with them, from engaging in each of the policies, practices,

customs, and usages complained of herein, as may be allowed by law;

       4.      Enter an order that State Auto P&C specifically perform and carry out policies,

practices, and programs that remediate and eradicate the effects of its past and present practices

complained of herein;

       5.       Award compensatory damages for all sums withheld as labor costs under the

policy, plus prejudgment interest on all such sums, to Plaintiff and members of the proposed class;

       8.      Award costs, expenses, and disbursements incurred herein by Plaintiff and

members of the proposed class as may be allowed by law, including but not limited to amounts

available under the common fund doctrine;

       9.      Pre- and Post-Judgment interest; and

       10.     Grant such further and additional relief as the Court deems necessary and proper.




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                                 Respectfully submitted,

                                 McWHERTER SCOTT BOBBITT PLC

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